        Save             Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 1 of 10
  OAO 245B(05-MA)           (Rev. 06/05) Judgment in a Criminal Case
                             Sheet 1 - D. Massachusetts - 10/05



                                          UNITED STATES DISTRICT COURT
                                                             District of Massachusetts
            UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                AMOS CARRASQUILLO                                           Case Number: 1: 06 CR 10320                       - 001 - WGY
                                                                            USM Number: 26285-038
                                                                             John Salsberg
                                                                            Defendant’s Attorney
                                                                                                                       ✔ Additional documents attached
  ??                                                                                             Transcript Excerpt of Sentencing Hearing
       Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
  THE DEFENDANT:
  ✔ pleaded guilty to count(s)
                                     1,4,5,6
     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:                                              Additional Counts - See continuation page

  Title & Section ?                 Nature of Offense                                                            Offense Ended            Count
 21 USC § 846                 Conspiracy to Possess with Intent to Distribute                                      08/24/06       1
 21 USC § 841(a)(1)           Possession with Intent to Distribute a Controlled Substance                          08/24/06       4,5,6




         The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
  the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
     Count(s)                                                    is     are dismissed on the motion of the United States.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
  the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              10/24/07
                                                                            Date of Imposition of Judgment

                                                                              /s/ William G. Young
                                                                            Signature of Judge

                                                                              The Honorable William G. Young
                                                                              Judge, U.S. District Court
                                                                            Name and Title of Judge

                                                                              10/26/07
                                                                            Date



                                                                                                             This page is always included when printing.
Print this page now          Reset this page
                         Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 2 of 10
  OAO 245B(05-MA)        (Rev. 06/05) Judgment in a Criminal Case   Delete This Page
                         Sheet 2 - D. Massachusetts - 10/05


                                                                                                          Judgment — Page         of
   DEFENDANT: AMOS CARRASQUILLO
   CASE NUMBER: 1: 06 CR 10320 - 001 - WGY

                                                                    IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
   total term of:                   month(s)
                          132
       on each of counts 1,4,5,6, the sentence on each count to run concurrent one with the other


        ✔ The court makes the following recommendations to the Bureau of Prisons:
       The Court notes no evidence of gang related activity in this action.


        ✔ The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                 at                                   G a.m.         G p.m.        on                                        .
                 as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                 before 2 p.m. on                                              .

                 as notified by the United States Marshal.

                 as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
   I have executed this judgment as follows:




           Defendant delivered on                                                            to

   a                                                    , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                                By
                                                                                                    DEPUTY UNITED STATES MARSHAL




                                                                                                                  Include this page when printing?

Print this page now          Reset this page                                                                                Yes         No
                          Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 3 of 10
   OAO 245B(05-MA)         (Rev. 06/05) Judgment in a Criminal Case   Delete This Page
                          Sheet 3 - D. Massachusetts - 10/05


                                                                                                       Judgment—Page                   of
    DEFENDANT:   AMOS CARRASQUILLO
    CASE NUMBER: 1: 06 CR 10320 - 001 - WGY
                                                              SUPERVISED RELEASE                                            ✔ See continuation page
    Upon release from imprisonment, the defendant shall be on supervised release for a term of :                 8 year(s)


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
    custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state or local crime.
    The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
    thereafter, not to exceed 104 tests per year, as directed by the probation officer.
           The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)
    ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
    ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           student, as directed by the probation officer. (Check, if applicable.)
           The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
    Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
    on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
    10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
    11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
    13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant’s compliance with such notification requirement.


                                                                                                                      Include this page when printing?
Print this page now          Reset this page                                                                                        Yes            No
                      Case 1:06-cr-10320-WGY Document     155 Filed 08/07/08 Page 4 of 10
                                             Delete This Page
  OAO 245B(05-MA)     (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

                                                                                                  Judgment—Page          of
   DEFENDANT:   AMOS CARRASQUILLO
   CASE NUMBER: 1: 06 CR 10320 - 001 - WGY

                           ADDITIONAL ✔ SUPERVISED RELEASE                                     PROBATION TERMS

        The defendant is to participate in an inpatient or outpatient program for substance abuse as directed by
        Probation which program may include testing not to exceed 104 tests per year to determine whether the
        defendant has reverted to the use of alcohol or drugs. The defendant may be required to contribute to the cost
        of such program.
        The defendant is not to consume any alcohol/alcoholic beverages during the course of any substance abuse
        treatment program in which he may be required to participate during the course of supervision.

        The defendant is to participate in a mental health program as directed by the Probation Office .The defendant
        may be required to contribute to the cost of services for such treatment based on the ability to pay or
        availability of third-party payment

        The defendant shall participate in a GED or similar adult education program during the term of supervision.




                           Continuation of Conditions of                         Supervised Release   Probation




                                                                                                            Include this page when printing?
Print this page now       Reset this page                                                                             Yes          No
                        Case 1:06-cr-10320-WGY Document    155
                                                  Delete This Page Filed 08/07/08 Page 5 of 10
  OAO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                        Sheet 5 - D. Massachusetts - 10/05

                                                                                                             Judgment — Page             of
                        AMOS CARRASQUILLO
  DEFENDANT:
  CASE NUMBER: 1: 06 CR 10320       - 001 - WGY
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                              Fine                                 Restitution
  TOTALS            $                $400.00                                $                                    $


      The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                 Total Loss*                               Restitution Ordered                   Priority or Percentage




                                              Click to add totals - Click once again afterwards
                                                                                                                                       See Continuation
                                                                                                                                       Page
  TOTALS                              $                            $0.00           $                       $0.00

       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for the                fine             restitution.
            the interest requirement for the              fine             restitution is modified as follows:


  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
  September 13, 1994, but before April 23, 1996.
                                                                                                                               Include this page when printing?
Print this page now          Reset this page                                                                                             Yes             No
                        Case 1:06-cr-10320-WGY Document
                                                Delete This 155
                                                            Page Filed 08/07/08 Page 6 of 10
  OAO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                        Sheet 6 - D. Massachusetts - 10/05
                                                                                                       Judgment — Page                of
                        AMOS CARRASQUILLO
  DEFENDANT:
  CASE NUMBER: 1: 06 CR 10320                          - 001 - WGY

                                                        SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

  A     ✘ Lump sum payment of $ $400.00                            due immediately, balance due

                  not later than                                      , or
                  in accordance                C,          D,           E, or   G F below; or
  B         Payment to begin immediately (may be combined with                  C,         D, or       F below); or

  C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

  D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

  E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F         Special instructions regarding the payment of criminal monetary penalties:




  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
  imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
  Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



                                                                                                                                      See Continuation
       Joint and Several
                                                                                                                                      Page
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States:




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                                                                                                                   Include this page when printing?

Print this page now          Reset this page                                                                                        Yes         No
                        Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 7 of 10
  AO 245B   (Rev. 06/05) Criminal Judgment
            Attachment (Page 1) — Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                             Judgment — Page                 of
  DEFENDANT:   AMOS CARRASQUILLO
  CASE NUMBER: 1: 06 CR 10320 - 001 - WGY
  DISTRICT:     MASSACHUSETTS
                                                              STATEMENT OF REASONS

  I     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

        A   G       The court adopts the presentence investigation report without change.

        B   ✔
            G       The court adopts the presentence investigation report with the following changes.
                    (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                    (Use Section VIII if necessary.)

            1       G Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level, or
                         specific offense characteristics):
                             no adjustment for acceptance of responsibility

            2       G Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                         role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):



            3       G Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
                         scores, career offender, or criminal livelihood determinations):



            4       G Additional Comments or Findings (including comments or factual findings concerning certain information in the
                         presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                         or programming decisions):



        C   G       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

  II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

        A   G       No count of conviction carries a mandatory minimum sentence.

        B   ✔
            G       Mandatory minimum sentence imposed.

        C   G       One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                    sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                    does not apply based on

                    G findings of fact in this case
                    G substantial assistance (18 U.S.C. § 3553(e))
                    G the statutory safety valve (18 U.S.C. § 3553(f))


  III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):
                                     27
        Total Offense Level:
        Criminal History Category:   VI
        Imprisonment Range:      130        to 162      months
        Supervised Release Range: 4               to 90        years
        Fine Range: $ 10,000            to $ 7,000,000
        G
        ✔ Fine waived or below the guideline range because of inability to pay.
                                                                                                                                      Include this page when printing?

                                                                                                                                                       Yes             No
Print this page now          Reset this page
                              Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 8 of 10
   AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
                   Attachment (Page 2) — Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                                Judgment — Page              of
   DEFENDANT: AMOS CARRASQUILLO
   CASE NUMBER: 1: 06 CR 10320 - 001 - WGY
   DISTRICT:     MASSACHUSETTS
                                                               STATEMENT OF REASONS
   IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

         A    G
              ✔           The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

         B      G         The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                          (Use Section VIII if necessary.)


         C      G         The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                          (Also complete Section V.)

         D      G         The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


   V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
         A The sentence imposed departs (Check only one.):
           G below the advisory guideline range
           G above the advisory guideline range
         B      Departure based on (Check all that apply.):
                1              Plea Agreement (Check all that apply and check reason(s) below.):
                               G 5K1.1 plea agreement based on the defendant’s substantial assistance
                               G 5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
                               G binding plea agreement for departure accepted by the court
                               G plea agreement for departure, which the court finds to be reasonable
                               G plea agreement that states that the government will not oppose a defense departure motion.
                2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                               G 5K1.1 government motion based on the defendant’s substantial assistance
                               G 5K3.1 government motion based on Early Disposition or “Fast-track” program
                               G government motion for departure
                               G defense motion for departure to which the government did not object
                               G defense motion for departure to which the government objected
                3              Other
                               G   Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

          C         Reason(s) for Departure (Check all that apply other than 5K1.1 or 5K3.1.)

   G    4A1.3        Criminal History Inadequacy               G 5K2.1 Death                                          G 5K2.11 Lesser Harm
   G    5H1.1        Age                                       G 5K2.2 Physical Injury                                G 5K2.12 Coercion and Duress
   G    5H1.2        Education and Vocational Skills           G 5K2.3 Extreme Psychological Injury                   G 5K2.13 Diminished Capacity
   G    5H1.3        Mental and Emotional Condition            G 5K2.4 Abduction or Unlawful Restraint                G 5K2.14 Public Welfare
   G    5H1.4        Physical Condition                        G 5K2.5 Property Damage or Loss                        G 5K2.16 Voluntary Disclosure of Offense
   G    5H1.5        Employment Record                         G 5K2.6 Weapon or Dangerous Weapon                     G 5K2.17 High-Capacity, Semiautomatic Weapon
   G    5H1.6        Family Ties and Responsibilities          G 5K2.7 Disruption of Government Function              G 5K2.18 Violent Street Gang
   G    5H1.11       Military Record, Charitable Service,      G 5K2.8 Extreme Conduct                                G 5K2.20 Aberrant Behavior
                     Good Works                                G 5K2.9 Criminal Purpose                               G 5K2.21 Dismissed and Uncharged Conduct
   G    5K2.0        Aggravating or Mitigating Circumstances   G 5K2.10 Victim’s Conduct                              G 5K2.22 Age or Health of Sex Offenders
                                                                                                                      G 5K2.23 Discharged Terms of Imprisonment
                                                                                                                      G Other guideline basis (e.g., 2B1.1 commentary)
          D         Explain the facts justifying the departure. (Use Section VIII if necessary.)




                                                                                                                                    Include this page when printing?
Print this page now               Reset this page                                                                                                    Yes               No
                           Case 1:06-cr-10320-WGY Document 155 Filed 08/07/08 Page 9 of 10
   AO 245B ( 05-MA) (Rev. 06/05) Criminal Judgment
                    Attachment (Page 3) — Statement of Reasons - D. Massachusetts 10/05


   DEFENDANT:   AMOS CARRASQUILLO                                                                                              Judgment — Page               of
   CASE NUMBER: 1: 06 CR 10320 - 001 - WGY
   DISTRICT:     MASSACHUSETTS
                                                              STATEMENT OF REASONS
   VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
         (Check all that apply.)
         A      The sentence imposed is (Check only one.):
                G below the advisory guideline range
                G above the advisory guideline range
         B      Sentence imposed pursuant to (Check all that apply.):
                1           Plea Agreement (Check all that apply and check reason(s) below.):
                            G      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                            G      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                            G      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                   system

                2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                            G      government motion for a sentence outside of the advisory guideline system
                            G      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                            G      defense motion for a sentence outside of the advisory guideline system to which the government objected

                3           Other
                            G      Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):

         C      Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

                G the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)
                G to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))
                G to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))
                G to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
                G to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                    (18 U.S.C. § 3553(a)(2)(D))
                G to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))
                G to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

         D      Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)




                                                                                                                                Include this page when printing?

Print this page now            Reset this page                                                                                                          Yes               No
AO 245B ( 05-MA) (Rev. 06/05) Criminal Judgment
                      Case 1:06-cr-10320-WGY Document 155                                        Filed 08/07/08 Page 10 of 10
                 Attachment (Page 4) — Statement of Reasons - D. Massachusetts - 10/05

                          AMOS CARRASQUILLO                                                                                 Judgment — Page              of
 DEFENDANT:
 CASE NUMBER: 1: 06 CR 10320 - 001 - WGY
 DISTRICT:     MASSACHUSETTS

                                                           STATEMENT OF REASONS

 VII COURT DETERMINATIONS OF RESTITUTION

       A     ✔
             G      Restitution Not Applicable.

       B     Total Amount of Restitution:

       C     Restitution not ordered (Check only one.):

             1      G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
                         identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

             2      G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
                         issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
                         that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

             3      G For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
                         ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                         the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

             4      G Restitution is not ordered for other reasons. (Explain.)


       D     G      Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):



 VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                      Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 Defendant’s Soc. Sec. No.:        XXX-XX-XXXX                                                         Date of Imposition of Judgment
                                                                                                        10/24/07
 Defendant’s Date of Birth:         1988
                                                                                                         /s/ William G. Young
 Defendant’s Residence Address:                                                                      Signature of Judge
                                                                                                  The Honorable William G. Young Judge, U.S. District Court
 Defendant’s Mailing Address:                                                                        Name and Title of Judge
                                                                                                     Date Signed 10/26/07



Print this page now                        This page is always included when printing.                                                     Reset this page
   Print Document                      Save As...                      Export as FDF                    Retrieve FDF File                 Reset Document
